Case 2:07-cv-02503-JDB-tmp Document 1 Filed 07/27/07 Page 1 of 3                  PageID 60



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
                                                                                     23.3903
  ________________________________________________________________________

  SUSAN WRIGHT and
  husband JOHN WRIGHT,

         Plaintiffs,

  VS                                                 NO.
  PROGRESSIVE DIRECT
  INSURANCE COMPANY and
  MOUNTAIN LAUREL ASSURANCE
  CO.,

        Defendants.
  ________________________________________________________________________

                           NOTICE OF REMOVAL
  ________________________________________________________________________

         The Defendants, Progressive Direct Insurance Company and Mountain Laurel

  Assurance Company, by and through counsel, file this Notice of Removal in the above-

  referenced matter. The Defendants would show to the Court as follows:



         1)     On June 29, 2007 the Plaintiffs, Susan Wright and John Wright,

  commenced an action in the Circuit Court of Tennessee for the Thirtieth Judicial District

  at Memphis styled Susan Wright and husband John Wright vs. Progressive Direct

  Insurance Company and Mountain Laurel Assurance Company, cause No. CT-003403-07

  in Division VI by filing an original Complaint and Summons, a copy of which is attached

  as Exhibit “A”.      The Petition for Removal is being filed within 30 days of the

  Defendants’ receipt of the Complaint and Summons in this action pursuant to 28 U.S.C.

  §1446(b). No further proceedings have been had therein.
Case 2:07-cv-02503-JDB-tmp Document 1 Filed 07/27/07 Page 2 of 3                    PageID 61




            2)    On information and belief, no other Defendants have been served in this

  matter.



            3)    The above-described action is a civil action over which this Court has

  original jurisdiction under the provisions of 28 U.S.C. §1332, Diversity of Citizenship, in

  as one which may be removed to this Court by the Defendants pursuant to the provisions

  of 28 U.S.C. §1441 in that it is a civil action in which the matter in controversy exceeds

  the sum or value of $75,000.00, exclusive of interest and costs, between citizens of

  different states.



            4)    Upon information and belief, the Plaintiffs are citizens of the state of

  Tennessee.



            5)    The Defendants Progressive Direct Insurance Company and Mountain

  Laurel Assurance Company are both foreign insurance companies as alleged in

  paragraphs 2 and 3 of the Plaintiffs’ Complaint.



            6)    The Defendants give written notice of the filing of this Notice of Removal

  to all adverse parties as required by 28 U.S.C. §1446(d), and will file a copy of this

  Notice of Removal with the Clerk of the Circuit Court of Tennessee for the Thirtieth

  Judicial District at Memphis as further required.




                                               2
Case 2:07-cv-02503-JDB-tmp Document 1 Filed 07/27/07 Page 3 of 3                    PageID 62



         WHEREFORE, based on the foregoing, the Defendants ask this Court to remove

  this matter pending in the Circuit Court of Tennessee for the Thirtieth Judicial District at

  Memphis as described herein.



                                               Respectfully submitted,

                                               McNABB, BRAGORGOS & BURGESS



                                               /S/: NICHOLAS E. BRAGORGOS - 12000
                                               Attorney for Defendants
                                               81 Monroe Avenue
                                               Sixth Floor
                                               Memphis, Tennessee 38103
                                               (901) 624-0640

                               CERTIFICATE OF SERVICE

         The undersigned certifies that a true copy of this pleading or document was
  served upon

         Jason G. Whitworth
         202 South Cooper Street
         Suite 4
         Memphis, Tennessee 38104

         David W. Hill
         488 South Mendenhall
         Memphis, Tennessee 38117

                                               /S/: NICHOLAS E. BRAGORGOS




                                               3
